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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ROCKET MORTGAGE, LLC,
                                               Case No. 2:23-cv-10574
                    Plaintiff,
                                               HONORABLE STEPHEN J. MURPHY, III
v.

J. PATTERSON MORTGAGE
LENDING, LLC, and JAMES C.
PATTERSON, SR.,

                    Defendants.
                                       /

                         CASE MANAGEMENT ORDER

      The Court held a status conference on April 26, 2023. ECF 6. The Court noted

that Defendant J. Patterson Mortgage Lending, LLC was not represented by counsel.

The Court will therefore order Defendant J. Patterson Mortgage Lending, LLC to

obtain counsel no later than May 26, 2023. Once obtained, counsel must promptly file

an appearance and answer the complaint.

      WHEREFORE, it is hereby ORDERED that Defendant James Patterson

must OBTAIN counsel for Defendant J. Patterson Mortgage Lending, LLC no later

than May 26, 2023.




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      IT IS FURTHER ORDERED that counsel for Defendant J. Patterson

Mortgage Lending, LLC, once obtained, must promptly FILE an appearance and an

answer to the complaint [1].

      SO ORDERED.

                                      s/ Stephen J. Murphy, III
                                      STEPHEN J. MURPHY, III
                                      United States District Judge
Dated: April 27, 2023

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 27, 2023, by electronic and/or ordinary mail.

                                      s/ David P. Parker
                                      Case Manager




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